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        Company Name: RI VERMONT BANKING
        Phone;434-384-1635
                                                                                FOSTCR V. WYNNE
        FAX:434-455-4900                                                      ( A S f NO. 1 ? - 6 0 6 1 9
        Address: 1688 Holcomb Rock Road,Lynchburg,VA
                                                                                   DEBTOR'S
                                                                                    EXHIBIT
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      D Urgent                          Q Please Comment     D Please Reply




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                   I he I lonorahle William N. Alexander, II
                   Franklin County Ciicuil Court
                   Post Office I*ox60l
                   Rocky Mount, Virginia }A I S I

                                                         Uc: John L. Wynne v. Kiucn
                                                         File Niimht-r: CLMHHM795-00
                                                                                                            FOSTER V. WYNNF
                                                                                                           CASF NO. J?-60619
                                                          Kc: Kami l<'»slrr v. John L. VVyniu1, t-l ;il
                                                          Kile Niiiulirr: < '1, 1 0005362-00                     DEBTOR'S
                                                                                                                 EXHIBIT
                   I >cai Jiidge Alcxaiuler                                                                        C


                           Thank you lor taking the lime lo heai counsel onlhe various molitms in ihc alxivc capliimei!
                   cases on November 16, 201 1 in your court. I understand the Court has taken our Motions lot
                   Summitry Judgment in the action tiled hy Ms Tosterand the Motion lor Partial Summary Judgment
                   in the Unlawful Detainer appeal under advisement lo allow (he show cause hearing involving Mr.
                   Sackelt to transpire and to allow Mr. Armstrong a chance lo develop the nehulous theory he
                   advanced on November 16, 201 I. At the same time, however, I believe it wise lo provide you wilh
                   additional information lor your consideration as I he case proceeds.

                            [inclosed are copies of the two out lines used to argue the Motion for Summary Jiidgmenl and
                    Motion for Partial Summary Judgment. I have also enclosed a copy of ihc Kcquest for Admissions
                    which were submitted to Ms Foster on May l(>, 2011, and answered by her counsel, Koberl II.
                    Armstrong, on June 10, 2011 in case number Cl.00047l)5-0(). Ms Foster's answers to the Request
                    for Admissions provide additional support to the arguments advanced on November 16, 201 I, (hat
                    Ms Foster never challenged the notice which preceded the foreclosure sale nor the actual mechanics
                    of the foreclosure sale. You will also find enclosed page 39 of her May 26, 2011 deposition, in
                    which she concedes multiple people in addition to Mr. Wynne and Mr. Sackelt were preseni at the
                     foreclosure sale held on the premises.

                            ll is Mr. Wynne's position, as advanced on November 16, 201 I, lhat Ms Foster's sole
                     challenge lo Ihc entire process deals wilh what happened following llie lon-clositre piocess She
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The Honorable William N. Alexander, II
November 17, 201 I
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makes a \ a g u e c l a i m o I 'collusion between Mr. Wynne anil Mr. Saekell and hopes lo niovc I his c l a i m
in courl.

       The bottom line, however, is ihe fads and law are clear any lien obtained by H a n k of
America runs \ \ i l h Ihe land, and does not adversely impact Mr. Wynne's position Instead Mi
Wynne accepts his deed lo the premises subject lo Hank of America's deed o f l r u s t . I I anyone has
something to complain about, il is Mr. Wynne and noi Ms foster.

          This is even more so in light of the slate of ihe law on September 25, 2008 and October U>
2008, the dales of the foreclosure sale and the Trustee's Deed. VA CODE ANN §55-5*) 4 required
Ihe trustee, Mr. Sacked, lo receive and receipt the proceeds from the sale w i t h o u t the purchaser Mr
Wynne, "being required lo see to Ihe application" of ihe same. This is so because as the V i r g i n i a
Supreme Court said in Itnmn v. City oj Rounokc, 172 Va. 227, I S.I-:. 2d 2 7 ( > ( I O V > ) the purchaser
is entitled lo rely upon the title conveyed by the Trustee's Deed.

        Having affirmatively admitted she has no complaints concerning the notice and the
mechanics of ihe foreclosure sale, Ms Foster fails lo establish an issue of facl for determination by
a jury. She also can not impose a duty upon Mr. Wynne where the law affirmatively says none
exisls. Therefore, it is a mailer of law lor Ihe Court to determine and enter judgment in favor of lohn
I,. Wynne. Mr. Cunningham and I respectfully request such an Order be entered.




                                                   II. Leigh Drevvry, Jr.

 IJUVdet
 Hnclosures

 cc: Robert li. Armstrong, F.squire
     Peter C. Sackelt
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                            MOTION FOR PARTIAL
                            SUMMARY JUDGMENT
                         ON U N L A W F U L DF/I A I N I < R

I Summary judgment applies where (here are no lads in dispute
      A) Inferences favorable lo non-moving parly arc to apply
      It) Uesl way lo determine it facts in dispute is lo look to elements of cause
             of action pled

II T'.lemenls ol 'Unlawful Detainer
         A) Plaintiff has possession/right of possession
                 DDsigned D/T
                       a) D stipulates it her signature on I)/1
                2) I) admits at trial she owed money under D/T
                       a) present at foreclosure
                3) I) admits in deposition she owes I* money under I)/1
                       a) various places cited in motion
                4) 1) defaulted on payment under D/T note
                        a) see above citations to deposition
                 5) Foreclosure sale held with I) present and aware
                        a) see trial transcript, page 10, lines 5-2 I
              6) Trustee's Deed, l-xhihil 11
                     a) no action ever filed lo void it based on improper notary's signature

       II) I loldover w/o legal right
                 I) Trial testimony
                        a) Transcript p. 3, lines 1 4 - 1 5 and page 6
                        h) D aware of foreclosure Trial Transcript page 10, lines 5-2 I

       C) Notice to Quit
              1) All of above shows she not wanted
              2) Notice of foreclosure sale
                     a) IT p. 6, lines 5-13
                     b) TTp. 10, lines 10-21

 111 Granting Defendant all reasonable inferences, the most the evidence shows is
        A) Peter Sacked was negligent in paying off the RofA D/T
                1) Facts would show D interfered wilh seeuring a proper payoff amount
               2) Does not affect title, only affects status of lien on properly which I*
               accepts when he accepts trustee's deed
                       a) I* may have c/a against Peler but it of no moment lo I)
        \\ Peter Sacked may have breached a duty to D regarding the pa>menl of
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      excess fuiuls
              1 ) No dnt) lo dehtor
                             a) See he!o\n ( 'OIK lusion
            2) May he resol\ed in snhseqiicnl action against Pelcr lor damages
      C) No eloud on IVs t i t l e
            I) She has never alleged any impropriety will) the notice or conduct
            of the Ibreelosure Side
                    a) all of her allegations go lo the accounting and \\hellier she
                    is o\\ed an\s
                   b) all ot her allegations go to die RolA I)/ I remaining on die
                    record for as long as it did, thai is to P's detriment, not hers

IV Counter to Foster's Response
      A) Claim of facts and law still at issue
              1) First issue is what did Peter do w i t h die money from die foreclosure sale
                      a) not at issue in unlawful detainer
                      b) no duly by Peter as fee lo I)
              2) Second issue    Cloud on Title
                     a) not at issue in unlawful detainer
                     b) deals with RofA IVI' which has been satisfied
                     e) again deals primarily with disposition of any excess funds
                     d) no duly owed by fee lo debtor (see below)
              3) Third issue - Wynne has not responded to Sackell's failure lo
              answer interrogatories
                     a) this is evidence they acting in concert
                             i) this is a llgment of someone's overly active
                             imagination

V Conclusion
     A) I* loaned I) money - $40,000 by IVs account
     H) Loan secured by IVT
     C) D fails to pay
     I)} Lien ofD/T perfected with foreclosure sale
             1) I) does not challenge notice
                     a) D had actual notice in light ofllling for injunction
             2) I) docs not challenge conduct of sale
             3) D's only challenge is to accounting
                     a) Tec (Peter) has no duly lo debtor (D/Foster)
                            i) tforvtith v. Bunk of New York, 2010 U.S.Disl.
                            I.KXIS 19965,4-5(2010)
                                ii) Meet finance v. Burke *t Ilerlwrt Bank and
                                7V//.S7, 27 Va. Cir. 9 8 ( 1 9 9 2 )
       l;,) I ille transferred lo P
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      !•) D remains in possession of house withoul paying rent, etc.
      0) Facts nol in dispute
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                             MOTION FOR S U M M A R Y
                             J U D G M E N T IN FOSTER'S
                                       LAWSUIT

I Summary judgment ;tp|>lics uhcrc there are no facts in d i s p u t e
        A) Inferences favorable lo n o n - m o v i n g p;irly arc lo apply
        H) Bcsl way lo determine if tads in dispulc is lo look lo clcincnls of cause
               of action pled

II Cause of action relied upon by I ' l a i n l i f l Tosler is s h i l l i n g and unclear, but
        appears lo be one of (,)uiel Title
        A) I'lcmenls of a Quiet Title aclion are:
               1 ) Plaintiff bas valid, legal and equitable l i l l c lo llic premises
                       a) l ; nsler laeks for all ol'lhc reasons sel out in the
                       unlawful detainer outline
               2) 1'laintiff lias actual possession of the premises
                       a) Hosier's continued possession is u n l a w f u l
                       b) l-'oster fails lo vacate despite failure to pay
                       c) lioA D/i is irrelevant at (bis point since ils lien
                       has been satisfied
                                 i) If Trustee's Deed is set aside, (ben l-'osler is
                                 indebted to Wynne for payment of the liof'A
                                 loan, at leasl on a Iheory of unjust enrichment

                 3) Defendant (Wynne) lays claim lo the premises
                        a) I le does, but his claim is superior given all arguments
                        in unlawful detainer outline
                 4) Plaintiff has slated ihe nature ol'lhc claim
                        a) Plaintiffs claim goes primarily to the accounting and
                        what the fee did with the money from the foreclosure sale
                                 i) all irrelevant lo the issue of t i t l e
                                 ii) 'fee has no duly to Plaintiff
                                          - see unlawful detainer outline
                                          - if (here is a duly, (hen it is remedied with
                                          money damages against Tee. not with setting
                                          aside a valid Tec's Deed lo Defendant Wynne
                                          who is a bfp

 111 Counter lo Foster's Response
        A) See unlawful detainer outline
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IV Conclusion
      A) See unlawful detainer outline
